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UNITED STATES DISTRICT COURT

 

DISTRICT OF MONTANA
MISSOULA DIVISION

PROOF RESEARCH, INC., )

) CASE NO.
Plaintiff, )
)

v. ) HON.
)
MCGOWEN PRECISION )
BARRELS, LLC, ) JURY DEMANDED
)
Defendant. )
COMPLAINT

Plaintiff Proof Research, Inc. (“Proof”) states as follows for its complaint
against McGowen Precision Barrels, LLC (“McGowen”):
Nature of the Action
1. This is an action for trademark infringement, unfair competition, and
trademark dilution under the Lanham Act. Proof and McGowen compete to sell
precision carbon fiber composite firearm barrels. McGowen, doing business as

Carbon Six Rifle Barrels, advertises and sells firearm barrels that infringe and
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dilute Proof’s registered trademarks, including adopting its trade dress and
gratuitous embedding of Proof’s word mark PROOF on its website,
www.CarbonSixLLC.com. Accordingly, Proof seeks an injunction, damages, and
its costs and attorneys’ fees.

Parties, Jurisdiction and Venue

2. Plaintiff Proof Research, Inc. is a Delaware corporation in the
business of making and selling firearms and firearms components including rifle
barrels. Proof has a principal place of business at 10 Western Village Lane,
Columbia Falls, Montana 59912.

3. Defendant McGowen Precision Barrels, LLC is a Montana limited
liability company in the business of making and selling certain firearm components
including gun barrels. On information and belief, defendant has a principal place
of business at 4051 US Highway 93 South, Kalispell, Montana 59901.

4. On information and belief, McGowen owns and controls CarbonSix
Rifle Barrels and/or does business as CarbonSix Rifle Barrels or simply
CarbonSix.

5. This Court has subject matter jurisdiction based upon 28 U.S.C. §§
1331 (federal question), 1332 (diversity) and 1338(a) and (b) (trademarks and
unfair competition).

6. This Court has personal jurisdiction over McGowen as a resident of

Montana.
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7. Venue is proper in this district pursuant to 28 U.S.C. § 1391.

Factual Allegations
8. Proof incorporates by reference paragraphs 1—7.
9. Proof makes and sells carbon fiber composite firearm barrels and

precision rifles incorporating carbon fiber composite firearm barrels. Several

images of rifles featuring Proof’s barrels are reproduced below.

 

10. Proof owns the trademark in its unique barrel appearance known as a

“trade dress” trademark. Proof’s trade dress trademark is registered with the US

Patent and Trademark Office, Reg. No. 4,390,533, in class 013 for the goods

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“Component parts for rifles; Field guns; Firearms; Gun barrels; Guns; Hunting
rifles; Rifle barrels; Rifles; Rifles and parts thereof; Sporting rifles.”
11. Pasted below is a copy of the drawing and verbal description

appearing on Proof’s U.S. trademark registration certificate.

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The mark consists of trade dress applied to gun barrels formed with a
mottled pattern of irregularly-sized, rippled patches, resembling a
quilt having striated patches of varying shapes and reflectivity
depending on the ambient light source and viewing angle. The dotted
lines in the drawing show the shape of the gun to which the applicant's
trade dress is applied, are intended to show the position.of the mark on
the gun, and are not part of the mark.

12. Proof also owns the word trademark PROOF, registered with the US
Patent and Trademark Office, Reg. No. 4,542,250 in class 013 for the goods “Gun
barrels; Gun stocks; Guns; Hunting rifles; Military rifles; Rifle barrels; Rifles;
Sporting rifles.” Copies of Proof’s registration certificates for its trade dress mark
and for its word mark are attached as Exhibit A.

13. In or about May 2016, McGowen posted on its Facebook page a

photograph of rifle barrels mimicking the appearance of Proof’s trade dress, as

shown below.
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carbonsix

RIFLE BARRELS ——————

14. In or about June, 2016, McGowen posted additional pictures of carbon
fiber rifle barrels on its Facebook page and stated that it would soon offer such
carbon fiber barrels for sale to the public.

15. In late June, 2016, McGowen launched a website dedicated to selling
carbon fiber composite firearm barrels, www.carbonsixllc.com. Since at least
June, 2016 and continuing through the present, McGowen has offered for sale on
its Facebook page and on its dedicated website firearm barrels featuring a
distinctive “mottled pattern of irregularly-sized, rippled patches, resembling a quilt
having striated patches of varying shapes and reflectivity” (hereinafter “irregular
mottled finish”). Several pages from its dedicated website and Facebook page are
attached as Exhibit B.

16. The irregular mottled finish is aesthetic and not itself functional. Nor
is the finish an inevitable result of producing a barrel comprising helically wrapped
carbon fibers. Rather, the irregular mottled finish is only obtained by means of a

carefully controlled finishing process.
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17. On or about February 22, 2017, McGowen added statements and
pictures on its Facebook page and on its dedicated CarbonSix website, stating,
“Here’s a few pictures taken around the shop of production barrels. They show off

the beautiful finish we’ve worked so hard to perfect. Fully custom carbon fiber

 

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rifle barrels faster, better and more affordable than the ‘other guys!’” (Emphasis
added.) Web captures relating to McGowen’s statement are compiled at Exhibit C.
18. On information and belief, McGowen has deliberately copied the
distinctive features of Proof’s trade dress to trade on the goodwill associated with
Proof’s trade dress and its high performance rifle barrels.
19. McGowen also liberally uses Proof’s registered trademark PROOF on
its dedicated CarbonSix website, as embedded tags and/or meta-tags, as well as in

general visible text, such as “Here are a few of the key features and options that

make these fool proof carbon fiber barrels.” “This is a careful blend of materials

 

and craftsmanship to create a fool proof carbon fiber barrel for our customers.”
“We make the process fool proof.” (All emphasis added.) Similarly, CarbonSix’s
Facebook page includes at least one post that statse, “Need more proof that Carbon
Six is the real deal[?]” Some relevant webpages and the html source code for the
CarbonSix “home,” “about” and “barrels” web pages are attached as Exhibit D
with the “proof” text and metatags highlighted.

20. McGowen intentionally and gratuitously embeds Proof’s registered

word mark PROOF in its CarbonSix website, both as visible text and extensively

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as metadata, in order to promote itself in search results generated and displayed by
internet search engines such as Google.

21. On information and belief, as a consequence of McGowen’s actions, a
significant number of potential consumers searching the internet for a genuine
Proof barrel will be confused and misdirected to McGowen’s dedicated CarbonSix
website.

22. On information and belief, McGowen’s firearm barrels are of lower
quality than Proof’s firearm barrels. Upon inspection and after purchase,
consumers would find that McGowen’s infringing barrels are of a lesser quality
than Proof’s barrels, thereby damaging the reputation of Proof’s barrels, because
consumers may be confused as to source and believe that the inferior infringing
barrels are Proof barrels.

23. Proof’s registered trade dress is distinctive, nonfunctional, and serves
as a source designator of Proof’s barrels and firearms.

24, Numerous other feasible ways exist in which McGowen could choose
to finish its gun barrels. For example, McGowen offers for sale carbon fiber

barrels with an exterior finish based on a hoop winding pattern, woven pattern, and

a ceramic-based coating available in many colors including camouflage, as shown

in its dedicated CarbonSix website pages attached at Exhibit E.
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25. Despite the availability of other readily available finish options,
McGowen worked hard to perfect a finished appearance that is identical or
strikingly similar to Proof’s registered trade dress.

26. Proof has spent countless hours and tens of thousands of dollars in
marketing, promoting and advertising its barrels and promoting their distinctive
trade dress, resulting in millions of dollars of sales of the distinctive barrels in
interstate commerce.

27. As a result of Proof’s continuous and exclusive promotion and sales
of its barrels in their distinctive trade dress, Proof’s trade dress has acquired
secondary meaning among relevant consumers as a primary source identifier of
Proof barrels.

28. On or about June 2, 2016, Proof notified McGowen of its trade dress
registration and demanded that McGowen cease and desist from selling,
distributing, advertising, or promoting barrels, or rifles fitted with barrels, having a
carbon fiber composite winding finish that imparts an image of an irregular
mottled pattern.

29. Despite receiving Proof’s cease and desist letter, McGowen has
refused to cease or desist from its infringing conduct.

30. To the contrary, after receiving Proof’s cease and desist letter

McGowen increased focus and intention on the irregular mottled appearance of its
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barrels, and gratuitously and repeatedly inserted the word “proof” on its dedicated
CarbonSix website.

COUNT 1 — Trademark Infringement, Lanham Act Section 32
(15 U.S.C. § 1114)
$1. Proof incorporates paragraphs 1-30.

32. Proof owns the trade dress of an irregular mottled finish on firearm
barrels as described in U.S. Trademark Registration No. 4,390,533.

33. McGowen has advertised, sold and offered to sell firearm barrels in
commerce that feature an irregular mottled finish that is identical or substantially
similar to Proof’s registered trade dress.

34. The finish that McGowen applies to its firearm barrels is not easily
obtained. McGowen works hard to create the irregular mottled finish on its
firearm barrels.

35. The finish that McGowen applies to its firearm barrels reproduces,
copies, or colorably imitates Proof’s registered trade dress.

36. McGowen knowingly imitated Proof’s trade dress intending that its
actions cause confusion, mistake, or deceive the relevant consumer market as to

the source of McGowen’s firearm barrels.

37. Proof owns the word PROOF, as described in U.S. Trademark

registration No. 4,542,250.
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38. McGowen gratuitously peppered its dedicated CarbonSix website
with Proof’s registered mark PROOF, both in visible text and in metadata,
intending that its actions cause confusion, mistake, or deceive the relevant
consumer market as to the true origin of the firearm barrels offered by McGowen.

39. McGowen’s actions, independently and in combination, created a
strong likelihood of confusion among the relevant consumer market.

40. McGowen’s actions, independently and in combination, have caused

actual confusion among the relevant consumer market.

41. McGowen’s actions infringed Proof’s registered trademarks.

42. McGowen’s infringement was willful.

43. Proof has suffered damages as a result of McGowen’s infringement.
44, The circumstances of McGowen’s continued infringement make this

an “exceptional case” pursuant to 15 U.S.C. § 1117(a)(3) entitling Proof to treble
damages and its attorneys’ fees.

45, On information and belief, the infringement by McGowen has and
will deprive Proof of sales, profits, and other related revenue that Proof would have

made or would enjoy in the future, has injured Proof in other respects, and will

cause Proof irreparable harm unless McGowen is enjoined from infringing the

registered marks.

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COUNT 2 — Unfair Competition, Lanham Act Section 43(a)
(15 U.S.C. § 1125(a))

46. Plaintiff incorporates paragraphs 1 — 45.

47. McGowen markets and sells its firearm barrels by actively promoting
its nonfunctional aesthetic trade dress, said trade dress being identical or
substantially similar to Proof’s trade dress of an irregular mottled pattern.

48. McGowen advertises its goods in commerce using the word “proof,”
in visible text and metadata.

49, McGowen’s application of the irregular mottled pattern on its barrels,
and its repeated use of the word “proof” on multiple pages of its dedicated
CarbonSix website, is a false or misleading designation of origin that is likely to
cause confusion, or to cause mistake, or to deceive as to the origin, sponsorship or
approval of McGowen’s barrels.

50. McGowen’s actions, independently and in combination, have caused
actual confusion among the relevant consumer market.

51. McGowen’s manufacture, sale and distribution of firearm barrels
incorporating or embodying Proof’s trade dress trademark has enabled McGowen
to benefit unfairly from Proof’s reputation and commercial success, thereby
imputing to McGowen’s infringing products sales and commercial value they

would not have otherwise.

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52. McGowen’s false or misleading use of the irregular mottled finish and
the word “proof” on its CarbonSix website is unfair competition prohibited by
Lanham Act Section 43, 15 U.S.C § 1125(a).

53; The circumstances of McGowen’s continued unfair competition in
violation of Section 43 make this an “exceptional case” pursuant to 15 U.S.C. §
1117(a)(3) entitling Proof to treble damages and its attorneys’ fees.

54. On information and belief, McGowen’s unfair competition has and
will deprive Proof of sales, profits, and other related revenue that Proof would have
made or would enjoy in the future, has injured Proof in other respects, and will
cause Proof irreparable harm unless McGowen is enjoined from its wrongful acts
under Section 43.

COUNT 3 — Trademark Dilution, Lanham Act Section 43(c)
(15 U.S.C. § 1125(c))

55. Plaintiff incorporates paragraphs | — 54.

56. Proof’s predecessor-in-interest began using in commerce its
distinctive irregular mottled finish as trade dress since at least February 2003.
Since that date, Proof’s (and its predecessor’s) use of the trade dress has been
substantially continuous across a large geographic area.

57. Since 2003, Proof has used its trade dress substantially continuously

and devoted substantial advertising and marketing efforts to promoting the

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appearance of its barrels. As a result, the appearance of Proof’s firearms has
acquired a high degree of distinctiveness.

58. Persons within the firearms industry, especially those knowledgeable
about high precision shooting, widely recognize Proof’s trade dress as designating

a genuine Proof barrel.

59. Proof’s registered trade dress is a “famous mark” under Section 43 of
the Lanham Act.
60. McGowen began using Proof’s trade dress in commerce after it

became famous.

61. McGowen’s use of Proof’s famous trade dress mark has diminished
the capacity of that mark to identify and distinguish goods or services.

62. McGowen’s actions have diluted the distinctive quality of Proof’s
famous mark by blurring its capacity as a unique identifier of genuine Proof
barrels.

63. On information and belief, McGowen’s dilution of Proof’s trade dress
trademark has and will deprive Proof of sales, profits, and other related revenue
that Proof would have made or would enjoy in the future, has injured Proof in
other respects, and will cause Proof irreparable harm unless McGowen is enjoined
from its wrongful acts under Section 43.

64. McGowen’s actions were willful, entitling Proof to damages and

attorneys’ fees pursuant to 15 U.S.C. §1117(a).
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COUNT 4 — Unfair Trade Practices (MCA § 30-14-101 ef seq.)

65. Plaintiff incorporates paragraphs | — 64.

66. McGowen’s misappropriation and misuse of Proof’s trade dress with
the purpose of misleading consumers constitutes unfair trade practices under
Montana law, MCA § 30-14-101 ef seq.).

67. Under MCA § 30-14-133(1), Proof is entitled to recover, and
therefore seeks, no less than the actual damages sustained as a result of
McGowen’s unfair trade practices in an amount to be determined at trial.

68. Under MCA § 30-14-133(1), Proof also seeks treble damages in light
of the egregiousness of McGowen’s immoral, unethical, oppressive and/or
unscrupulous conduct.

COUNT 5 - Injury to Business Reputation; Dilution (MCA § 30-13-334)

69. Plaintiff incorporates paragraphs | — 68.

70. Proof has extensively and continuously promoted and used its firearm
barrel trade dress in the United States, and this trade dress has thereby become a
distinctive and well-known symbols of Proof’s high quality products and services.

As a result of the duration, extent, and geographic reach of Proof’s use of its
firearm barrel trade dress, and advertising and publicity associated with the same,
this trade dress is widely recognized by the consuming public as a designation of

source of Proof’s products and services. McGowen began using the infringing

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trade dress in interstate United States commerce after Proof’s traded dress became
distinctive.

71. McGowen’s unauthorized commercial use of the infringing trade
dress has diluted and continues to dilute the distinctive quality of Proof’s trade
dress by lessening its capacity to identify and distinguish Proof exclusively as the
source of goods and services bearing or provided under this trade dress.

72. _McGowen’s actions demonstrate an intentional and willful intent to
trade on the goodwill associated with Proof’s trade dress and/or to cause dilution of
the Proof trade dress, to the great and irreparable injury of Proof.

73. McGowen is causing and will continue to cause irreparable injury to
Proof’s goodwill and business reputation, and dilution of the distinctiveness and
value of Proof’s trade dress, in violation of the Montana statute concerning injury
to business reputation and dilution, MCA § 30-13-334.

74. The aforesaid conduct of McGowen is causing irreparable injury to
Proof and to its goodwill and reputation, and will continue to damage Proof and
deceive the public unless enjoined by this Court. Proof has no adequate remedy at
law.

PRAYER FOR RELIEF
Proof prays that this Court enter judgment in favor of Proof and against

McGowen on all claims asserted by Proof:

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A.

Entering preliminary and permanent injunctions against McGowen as
provided by, for example, 15 U.S.C. § 1116, enjoining it, its directors,
officers, agents, employees, successors, subsidiaries, assigns, and all
persons in active concert, privity, or participation with McGowen
from 1) finishing firearms or firearm barrels with an irregular mottled
finish similar to Proof’s registered trade dress; and 2) embedding the
word “proof” in its marketing materials, including websites, except
for incidental and occasional use of that term in visible text.

Ordering McGowen to provide an accounting of all sales activity
relating to its sales of barrels incorporating an irregular mottled finish,
together with an itemized list of all persons to whom it has sold such
barrels including their addresses and other contact information;
Awarding such damages to Proof to which it is entitled, pursuant to 15
U.S.C. § 1117, including treble damages;

Awarding Proof pre-judgment and post-judgment interest as allowed
by law;

Awarding Proof its costs, expenses, and fees, including reasonable
attorneys’ fees, pursuant to 15 U.S.C. § 1117; and

Awarding Proof such other and further relief as the Court deems just,

equitable, and proper.

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DEMAND FOR JURY TRIAL
Pursuant to Rules 38(b) of the Federal Rules of Civil Procedure, Plaintiff

hereby demands a trial by jury on all issues raised by the Complaint.

DATED this 15" day of December, 2017.

/s/ Antoinette M. Tease
Attorney for Plaintiff Proof Research, Inc.

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